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DEFENDANT:             Felix Missael ALVA

YEAR OF BIRTH:         1990    AGE: 29

ADDRESS:               910 Nile St, Aurora, CO 80010

OFFENSE:               COUNT 1: KNOWINGLY POSSESSED A FIREARM WHILE BEING
                       ILLEGALLY or UNLAWFULLY in the UNITED STATES, IN
                       VIOLATION OF 18 U.S.C. § 922(g)(5)(a)

LOCATION OF
OFFENSE:               DENVER COUNTY, COLORADO
(County and State)

PENALTY:               COUNT 1: NMT 10 YEARS IMPRISONMENT; NMT $250,000 FINE
                       OR BOTH; NMT 3 YEARS SUPERVISED RELEASE; $100 SPECIAL
                       ASSESSMENT FEE

AGENT/DEPUTY:          Ryan Mckone, ATF SPECIAL AGENT

AUTHORIZED BY: Dorothy DiPascali,
               SPECIAL ASSISTANT UNITED STATES ATTORNEY

ESTIMATED TIME OF TRIAL:

  X    five days or less              over five days         other

THE GOVERNMENT

   X    Will seek detention in this case based on 18 U.S.C. § 3142(f)(1).

        Will not seek detention.


The statutory presumption of detention [is / is not] applicable to this defendant.

OCDETF case: _____ Yes          __X___ No
